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                             UNITED STATES DISTRICT COURT
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                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                  SOUTHERN DIVISION
11
                                               No. 8:22-cv-00981JVS(KESx)
12    UNITED STATES OF AMERICA
13                      Plaintiff,             ORDER APPOINTING UNITED STATES
                                               DEPARTMENT OF HOMELAND
14                      v.                     SECURITY, UNITED STATES SECRET
                                               SERVICE AS SUBSTITUTE
15    APPROXIMATELY 40.997711                  CUSTODIAN IN PLACE OF THE U.S.
      ETHEREUM DIGITAL CURRENCY,               MARSHALS SERVICE
16
                        Defendant.
17
18
19         IT IS HEREBY ORDERED that upon the arrest of the defendant,
20    Jason Wood, Assistant to the Special Agent in Charge, U.S.
21    Secret Service, 725 S. Figueroa Street, Suite 1300, Los Angeles,
22    CA 90017, shall assume custody of the defendant on behalf of
23    this Court, in place of the United States Marshal, and shall
24
      maintain custody of such defendant during the time they remain
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      in custodia legis, pursuant to Rule G(3)(c)(i) of the
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 1    Supplemental Rules for Admiralty or Maritime Claims and Asset
 2    Forfeiture Actions and Rule E.14(a) of the Local Rules for
 3    Admiralty and Maritime Claims;
 4         IT IS FURTHER ORDERED that Jason Wood, Assistant to the
 5
      Special Agent in Charge, U.S. Secret Service, shall continue to
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      maintain possession of such defendant in safe custody until such
 7
      time this Court orders the release or forfeiture of said
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      defendants and said defendants are disposed of in accordance
 9
      with Rule G(7)(c) of the Supplemental Rules for Admiralty or
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      Maritime Claims and Asset Forfeiture Actions, or as otherwise
11
      allowed by law;
12
           IT IS FURTHERED ORDERED that, before the delivery of the
13
      defendant after such release or disposal is ordered, all costs
14
15    and charges of the Court and its officers, more particularly

16    Jason Wood, Assistant to the Special Agent in Charge, U.S.

17    Secret Service, as Substitute Custodian, must first be paid,

18    pursuant to Rule E(5)(c) of the Supplemental Rules for Admiralty

19    or Maritime Claims and Asset Forfeiture Actions; and
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 1         IT IS FURTHERED ORDERED that, as Substitute Custodian of
 2    the defendant, Jason Wood, Assistant to the Special Agent in
 3    Charge, U.S. Secret Service, shall perform all duties and
 4    responsibilities that the United States Marshal is authorized to
 5
      perform pursuant to the Supplemental Rules for Admiralty or
 6
      Maritime Claims and Asset Forfeiture Actions.
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10
      DATED: May 24, 2022.               ____________________________
11                                       UNITED STATES DISTRICT JUDGE
12                                       JAMES V SELNA

13    PRESENTED BY:
      TRACY L. WILKISON
14    United States Attorney
      SCOTT M. GARRINGER
15    Assistant United States Attorney
16    Chief, Criminal Division
      JONATHAN GALATZAN
17    Assistant United States Attorney
      Chief, Asset Forfeiture Section
18
19
      /s/ Dan G. Boyle
20    Dan G. Boyle
      Assistant United States Attorney
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22    Attorney for Plaintiff
      UNITED STATES OF AMERICA
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